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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                           )
    In re:                                                                 )     Chapter 11
                                                                           )
    CELSIUS NETWORK LLC, et al., 1                                         )     Case No. 22-10964 (MG)
                                                                           )
                                       Debtors.                            )     (Jointly Administered)
                                                                           )

                     SECOND NOTICE OF FILING OF PLAN SUPPLEMENT

         PLEASE TAKE NOTICE THAT on July 28, 2023, Celsius Network LLC and its
affiliated debtors and debtors in possession (collectively, the “Debtors”) filed the Notice of Filing
of Plan Supplement [Docket No. 3115] (the “First Notice of Plan Supplement”) 2 to the Joint
Chapter 11 Plan of Reorganization of Celsius Network LLC and Its Debtor Affiliates [Docket
No. 3222] (as may be amended, supplemented, or otherwise modified from time to time,
the “Plan”), 3 as set forth in the Plan and in accordance with the terms and conditions in the Plan
Support Agreement.

        PLEASE TAKE FURTHER NOTICE THAT the Debtors hereby file an addendum to
the Plan Supplement (the “Second Notice of Plan Supplement” and, together with the First Notice
of Plan Supplement, the “Plan Supplement”), which includes the following documents:

        Exhibit         Document
             A          Schedule of Retained Causes of Action
             B          Schedule of Equitably Subordinated Claims
             C          Schedule of Excluded Parties


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
      Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks
      Lending LLC (3390); Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Limited (0893); and GK8
      USA LLC (9450). The location of Debtor Celsius Network LLC’s principal place of business and the Debtors’
      service address in these chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.

2     The First Notice of Plan Supplement had attached as Exhibit A: Schedule of Released and Exculpated Parties;
      and Exhibit B: Alternative Dispute Resolution Procedures.

3     Capitalized terms not otherwise defined herein shall have the meaning given to them in the Plan or the Disclosure
      Statement for the Joint Chapter 11 Plan of Reorganization of Celsius Network LLC and Its Debtor Affiliates
      [Docket No. 3223] (as modified, amended, or supplemented from time to time, the “Disclosure Statement”), as
      applicable.
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        PLEASE TAKE FURTHER NOTICE THAT certain documents or portions thereof
contained in the Plan Supplement remain subject to ongoing negotiations among the Debtors and
interested parties with respect thereto. The Debtors reserve all rights, subject to the terms and
conditions set forth in the Plan and the Plan Support Agreement, to amend, revise, or supplement
the Plan Supplement, and any of the documents and designations contained therein, at any time
before the Effective Date of the Plan, or any such other date as may be provided for in the Plan or
an order of the Bankruptcy Court. Each of the documents contained in the Plan Supplement or its
amendments are subject to certain content and approval rights to the extent provided in the Plan
and the Plan Support Agreement.

        PLEASE TAKE FURTHER NOTICE THAT, if you would like to obtain a copy of the
Disclosure Statement, the Plan, or related documents, you should contact Stretto, Inc., the Claims,
Noticing, and Solicitation Agent retained by the Debtors in these chapter 11 cases (the “Claims,
Noticing, and Solicitation Agent”), by: (a) calling the Debtors’ restructuring hotline at
(855) 423-1530 (Toll Free) or +1 (949) 669-5873 (International); (b) e-mailing the Claims,
Noticing, and Solicitation Agent at CelsiusInquiries@Stretto.com with a reference to “In re:
Celsius - Solicitation Inquiry” in the subject line; or (c) writing to the Claims, Noticing, and
Solicitation Agent at Celsius Inquiries, c/o Stretto 410 Exchange, Suite 100 Irvine, CA 92602.
You may also obtain copies of any pleadings filed with the Court for free by visiting the Debtors’
restructuring website, https://cases.stretto.com/Celsius/, or for a fee via PACER
at: http://pacer.psc.uscourts.gov.


                              [Rest of page intentionally left blank]




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New York, New York                        /s/ Joshua A. Sussberg
Dated: August 13, 2023                    KIRKLAND & ELLIS LLP
                                          KIRKLAND & ELLIS INTERNATIONAL LLP
                                          Joshua A. Sussberg, P.C.
                                          601 Lexington Avenue
                                          New York, New York 10022
                                          Telephone: (212) 446-4800
                                          Facsimile:     (212) 446-4900
                                          Email:         joshua.sussberg@kirkland.com

                                          - and -

                                          Patrick J. Nash, Jr., P.C. (admitted pro hac vice)
                                          Ross M. Kwasteniet, P.C. (admitted pro hac vice)
                                          Christopher S. Koenig
                                          Dan Latona (admitted pro hac vice)
                                          300 North LaSalle Street
                                          Chicago, Illinois 60654
                                          Telephone: (312) 862-2000
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                                          Email:         patrick.nash@kirkland.com
                                                         ross.kwasteniet@kirkland.com
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                                                         dan.latona@kirkland.com

                                          Counsel to the Debtors and Debtors in Possession




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                                                          Exhibit A
                                     Schedule of Retained Causes of Action
        Article IV.M of the Joint Chapter 11 Plan of Reorganization of Celsius Network LLC and its
Debtor Affiliates [Docket No. 3222] (as may be amended, modified, revised, or supplemented from time to
time, the “Plan”) 1 provides that: “each Post-Effective Date Debtor shall retain [and] may enforce,
all rights to commence and pursue, as appropriate, any and all Causes of Action, whether arising
before or after the Petition Date, including any actions specifically enumerated in the Schedule of
Retained Causes of Action. The rights of the Litigation Administrator(s) and the Plan
Administrator to commence, prosecute, or settle such Causes of Action shall be preserved
notwithstanding the occurrence of the Effective Date, other than the Causes of Action
released by the Debtors pursuant to the releases and exculpations contained in the Plan,
including in Article VIII of the Plan; provided that, notwithstanding anything to the contrary
in this Plan, Causes of Action included in the Schedule of Retained Causes of Action shall
not be released pursuant to the Plan (even as to Released Parties) unless specifically provided
therein.”
        Article IV.M of the Plan further provides that: “No Entity may rely on the absence of a
specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause
of Action against it as any indication that the Debtors, the Plan Administrator, or any
Litigation Administrator will not pursue any and all available Causes of Action against it.
The Debtors and the Post-Effective Date Debtors (on behalf of themselves, the Plan
Administrator, and the Litigation Administrator(s)) expressly reserve all rights to prosecute
any and all Causes of Action against any Entity.”

        Without limiting the generality of Article IV.M of the Plan, the Debtors identify the
following types of Causes of Action that are expressly preserved by the Debtors and the Post-
Effective Date Debtors after the Effective Date, solely to the extent such Causes of Action are not
otherwise specifically released, settled, compromised, transferred, or assigned under the Plan or
any other order of the Court.

       The Debtors expressly reserve the right to alter, modify, amend, remove, augment, or
supplement this Schedule of Retained Causes of Action at any time with additional Retained
Causes of Action. Failure to include any Retained Cause of Action herein at any time shall not be
a bar and shall not have any impact on the Post-Effective Date Debtors’ and Litigation
Administrators’ rights to bring any Retained Cause of Action not otherwise released pursuant to
the Plan.

I.        Claims Against Third-Parties

         The Debtors and the Post-Effective Date Debtors expressly reserve all Causes of Action
against all Persons or Entities that are not Released Parties, including Causes of Action that are
(a) listed on Schedule 1 attached hereto; (b) based upon any contract or quasi-contract theory of
liability or recovery; (c) based upon any tort theory of liability or recovery, including, without
limitation, tortious interference with existing contracts, tortious interference with contractual or

1    Capitalized terms used herein but not defined shall have the meanings given to such terms in the Plan.
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business relations, conversion, theft, embezzlement, conspiracy, unfair competition,
misappropriation of trade secrets, self-dealing, fraud, negligence, gross negligence, willful
misconduct, breach of warranty, misappropriation, or misrepresentation; (d) based upon any other
legal or equitable theory of liability or recovery arising under federal, state, or other statutory or
common law or otherwise, including, without limitation, breach of fiduciary duty, breach of the
duty of care, breach of the duty of good faith and fair dealing, breach of the duty of loyalty, breach
of the duty of candor, breach of the duty of oversight, or breach of any other duty, or aiding and
abetting any such breaches of duty; (e) arising under sections 362, 510, 542, 543, 544 through 550,
or 553 of the Bankruptcy Code; (f) for avoidance, fraudulent transfer, and similar Causes of Action
pursuant to the Bankruptcy Code, state or other federal statutes, or common law; (g) for
recharacterization, subordination, or disallowance of any Claim, or for setoff, counterclaim,
recoupment; (h) actions or inaction taken to affect the price or other matters related the CEL token;
(i) arising from or relating to the failure to properly oversee and govern the Debtors’ operations
and finances, operational mismanagement, expenditures of company funds for personal use
(including, but not limited to, self-dealing, kickbacks, and embezzlement), theft of company or
customer property, improper and excessive compensation, improper and excessive benefits,
improper dealings with companies owned or controlled by the Debtors’ former equity holders
(direct or indirect), officers, directors, members, managers, employees or agents, financial and
accounting mismanagement and/or impropriety, or violations of employment agreements,
company agreements, or other company policies; or (j) those claims and causes of action identified
in the Complaint attached to the Notice of Filing of Revised Proposed Complaint of the Official
Committee of Unsecured Creditors [Docket No. 2349].

II.    Contributed Claims

        The Debtors and the Post-Effective Date Debtors expressly reserve all Contributed Claims,
subject to the procedures identified in Articles IV.G and IV.O of the Plan and the ballots, which
such Contributed Claims shall have been irrevocably contributed to the Post-Effective Date
Debtors.

III.   Promoter Claims

        Unless otherwise specifically released pursuant to the Plan, the Debtors and the Post-
Effective Date Debtors expressly reserve all Causes of Action against public promoters, marketers,
and advertisers of the Debtors who are not Released Parties as defined in the Plan for, among other
things, false or deceptive marketing or advertising, false inducement of the Debtors’ account
holders, misleading or fraudulent claims, aiding and abetting breaches of fiduciary duty, and other
claims or causes of action relating to any oral or written statements made in connection with the
Debtors’ platform or services.

IV.    Claims Against Professional Persons

       Unless they are Released Parties or otherwise released pursuant to the Plan, the Debtors
and the Post-Effective Date Debtors expressly reserve all Causes of Action against any outside
attorneys, financial advisors, investment bankers, auditors, or other professional persons for any
claims or causes of action, including, without limitation, negligence, malpractice, fraud,



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misrepresentation, and aiding and abetting breaches of fiduciary duty in connection with services
rendered to the Debtors.

V.      Avoidance Actions

        Unless otherwise released by the Plan, including pursuant to the Account Holder
Avoidance Action Settlement, the Debtors and the Post-Effective Date Debtors expressly reserve
all Causes of Action that may be brought by or on behalf of the Debtors, the Post-Effective Date
Debtors, their Estates, or other authorized parties in interest to avoid a transfer of property or an
obligation incurred by the Debtors pursuant to any applicable section of the Bankruptcy Code,
including sections 502, 510, 542, 544, 545, 547 through and including 553 of the Bankruptcy
Code, and section 724(a) of the Bankruptcy Code, or under similar or related state or federal
statutes or common law, including preference and fraudulent transfer laws. For the avoidance of
doubt, all avoidance actions against entities that are not Account Holders or avoidance actions
against Account Holders who are not acting in their capacity as Account Holders (e.g. as a lender)
are not released and expressly preserved under the Plan irrespective of whether such entity is a
Releasing Party as such term is defined in the Plan.

VI.     Claims Related to Insurance Policies

        Unless otherwise released pursuant to the Plan, the Debtors and the Post-Effective Date
Debtors expressly reserve all Causes of Action based in whole or in part upon any and all insurance
contracts and insurance policies to which any Debtor or Post-Effective Date Debtor is a party or
pursuant to which any Debtor or Post-Effective Date Debtor has any rights whatsoever, regardless
of whether such contract or policy is specifically identified in the Plan, this Plan Supplement, or
any amendments thereto, including, without limitation, Causes of Action against insurance
carriers, reinsurance carriers, insurance brokers, underwriters, occurrence carriers, or surety bond
issuers relating to coverage, indemnity, contribution, reimbursement, or any other matters.

VII.    Claims Related to Tax Refunds

        Unless otherwise released pursuant to the Plan, the Debtors and the Post-Effective Date
Debtors expressly reserve all Causes of Action against federal, state, local, or international taxing
authorities based in whole or in part upon any and all tax obligations, tax credits, refunds, offsets,
or other claims to which any Debtor or Post-Effective Date Debtor is a party or pursuant to which
any Debtor or Post-Effective Date Debtor has any rights whatsoever, including, without limitation,
against or related to all federal, state, local, or international taxing authorities that owe or that may
in the future owe money related to tax obligations, tax credits, refunds, offsets, or other claims to
the Debtors or the Post-Effective Date Debtors, regardless of whether such entity is specifically
identified herein.

VIII. Claims, Defenses, Cross-Claims, and Counter-Claims Related to Litigation and
      Possible Litigation, Including Adversary Proceedings

        The Debtors and the Post-Effective Date Debtors expressly reserve all Causes of Action
against or related to all Entities that are party to or that may in the future become party to litigation,
arbitration, any adversary proceeding in these chapter 11 cases or any other type of adversarial


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proceeding or dispute resolution proceeding, whether formal or informal or judicial or non-
judicial, regardless of whether such Entity is specifically identified in the Plan, this Plan
Supplement, or any amendments thereto, including, but not limited to, any claims against the
Excluded Parties or any directors, officers, employees, managers, investment committee members,
executive committee members, equity holders (regardless of whether such interests are held
directly or indirectly), affiliated investment funds or investment vehicles, managed accounts or
funds, predecessors, participants, successors, assigns, subsidiaries, affiliates, partners, limited
partners, general partners, principals, members, management companies, fund advisors or
managers, agents, trustees, advisory board members, financial advisors, attorneys, accountants,
investment bankers, consultants, representatives, or other professionals and/or advisors, or any
other persons or entities affiliated with the Excluded Parties, or any of their respective Related
Parties.

IX.    Claims Related to Accounts Receivable and Accounts Payable

       Unless otherwise released pursuant to the Plan, the Debtors and the Post-Effective Date
Debtors expressly reserve all Causes of Action against or related to all vendors, suppliers of goods
and services, or similar Entities that owe or that may in the future owe money to the Debtors or
Post-Effective Debtors, regardless of whether such Entity is expressly identified in the Plan, this
Plan Supplement, or any amendments thereto. Furthermore, the Debtors expressly reserve all
Causes of Action against or related to all Entities who assert or may assert that the Debtors or
Wind Down Debtors, as applicable, owe money to them.

X.     Claims Related to Contracts and Leases

         Unless otherwise released pursuant to the Plan, the Debtors and the Post-Effective Date
Debtors expressly reserve all Causes of Action based in whole or in part upon any and all contracts
and leases to which any Debtor or Post-Effective Date Debtor is a party or pursuant to which any
Debtor or Post-Effective Date Debtor has any rights whatsoever, regardless of whether such Entity
is expressly identified in the Plan, this Plan Supplement, or any amendments thereto, including
without limitation all contracts and leases that are rejected by the Debtors, assumed pursuant to
the Plan, or were previously assumed by the Debtors. The claims and Causes of Actions reserved
include, without limitation, claims and Causes of Action against vendors, suppliers of goods or
services, customers, landlords, utilities, promoters, banks, or any other parties, unless such claims
or Causes of Action were previously released through the Plan or separate written agreement
executed by the Debtors for, among other things: (a) overpayments, back charges, duplicate
payments, improper holdbacks, deposits, warranties, guarantees, indemnities, recoupment, or
setoff; (b) breach of contract, wrongful or improper termination, suspension of services or supply
of goods, or failure to meet other contractual or regulatory obligations; (c) failure to fully perform
or to condition performance on additional requirements under contracts with any one or more of
the Debtors before the assumption or rejection, if applicable, of such contracts; (d) payments,
deposits, holdbacks, reserves, or other amounts owed by any creditor, utility, supplier, vendor,
insurer, surety, factor, lender, bondholder, lessor, or other party; (e) any liens, including
mechanic’s, artisan’s, materialmen’s, possessory, or statutory liens held by any one or more of the
Debtors; (f) environmental or contaminant exposure matters against landlords, lessors,
environmental consultants, environmental agencies, or suppliers of environmental services or
goods; (g) counterclaims and defenses related to any contractual obligations; (h) any turnover

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actions arising under section 542 or 543 of the Bankruptcy Code; (i) and unfair competition,
interference with contract or potential business advantage, breach of contract, infringement of
intellectual property, or any business tort claims.




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                                            Schedule 1

     Debtor             Defendant          Case Name               Court           Nature of Action
                                           & Number               (if filed)
                                            (if filed)
 Celsius Network     Akshay Nayak                 -                   -           Current judgment
 Limited                                                                          entered against
                                                                                  CNL in UK
 Celsius Network     Amber                        -                   -           Breach of contract,
 Limited             Technologies                                                 commercial loan
                     Limited                                                      default action
 Celsius Network     BadgerDAO and                -                   -           Gross negligence
 Limited             Cloudflare, Inc.                                             regarding security
                                                                                  of Badger platform
 Celsius Network     Bancor                       -                   -           Damages claim
 Limited
 Celsius Network     B-Brick, Inc.                -                   -           Breach of contract,
 Limited                                                                          commercial loan
                                                                                  default action
 Celsius Mining      Beowulf Energy               -                   -           Breach of contract,
 LLC                 LLC                                                          negligence,
                                                                                  turnover, and
                                                                                  related claims
                                                                                  arising from hosting
                                                                                  agreements
 Celsius Network     Blockchain                   -                   -           Breach of contract,
 Limited             Access UK Ltd.                                               commercial loan
                                                                                  default action
 Celsius Mining      Core Scientific    In re Core            U.S. Bankruptcy     Breach of contract,
 LLC                 Inc.               Scientific, et al.,   Court for the       intentional
                                        Case No. 22-          Southern District   misconduct
                                        90341 (DRJ)           of Texas            Proofs of Claim
                                                                                  Nos. 379, 425, 428,
                                                                                  434, 436, 439, 469,
                                                                                  494–497, 526
 Celsius Network     Equities First               -                   -           Breach of contract,
 Limited             Holdings, LLC                                                commercial loan
                                                                                  default action,
                                                                                  failure to return
                                                                                  collateral, bad faith
 Celsius Network     EZ Blockchain                -                   -           Breach of contract,
 Limited             Services, LLC                                                turnover
 Celsius Network     Fabric Ventures    Celsius Network       U.S. Bankruptcy     Breach of contract
 Limited             Group SARL         Limited v. Fabric     Court for the


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      Debtor             Defendant           Case Name             Court           Nature of Action
                                             & Number             (if filed)
                                              (if filed)
                                          Ventures Group      Southern District
                                          SARL,               of New York
                                          Case No. 22-
                                          10964 (MG)
 Celsius Network      Fireblocks Inc.             -                   -           Negligence, breach
 Limited                                                                          of contract
 Celsius Network      HDR Global                  -                   -           Negligence, fraud,
 Limited              Trading Limited                                             market
                      t/a BitMEX                                                  manipulation
 Celsius Network      Into the Block              -                   -           Gross negligence
 Limited              Corp
 Celsius Network      Iterative OTC,              -                   -           Breach of contract,
 Limited              LLC                                                         commercial loan
                                                                                  default action
 Celsius Network      Jason Stone and     Celsius Network     U.S. Bankruptcy     Conversion, breach
 Limited              KeyFi Inc           Limited & Celsius   Court for the       of contract, breach
                                          KeyFi LLC v.        Southern District   of fiduciary duties,
                                          Jason Stone &       of New York         turnover
                                          KeyFi Inc.,
                                          Case No. 22-
                                          01139 (MG)
 Celsius Network      Liquidity                   -                   -           Breach of contract,
 Limited              Technologies Ltd.                                           commercial loan
                      t/a CoinFLEX                                                default action
 Celsius Network      Mambu Tech                  -                   -           Breach of contract,
 Limited              B.V.                                                        fraudulent
                                                                                  inducement
 Celsius Mining       Mawson                      -                   -           Breach of contract,
 LLC                  Infrastructure                                              bad faith, willful
 Celsius US           Group Inc.                                                  misconduct
 Holding LLC          Luna Squares
 (holder of note)     LLC
                      Cosmos
                      Infrastructure
                      LLC
 Celsius Mining       Nektar ACS                  -                   -           Breach of contract
 LLC                  Corp.
 Celsius Network      Profluent Trading           -                   -           Breach of contract,
 Limited              UK Ltd.                                                     commercial loan
                                                                                  default action



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     Debtor             Defendant            Case Name             Court           Nature of Action
                                             & Number             (if filed)
                                              (if filed)
 Celsius Network     Reliz Limited                -                   -           Breach of contract,
 Limited                                                                          commercial loan
                                                                                  default action
                                                                                  Collection of
                                                                                  arbitration award in
                                                                                  favor of Celsius
 Celsius Mining      Rhodium                      -                   -           Breach of SAFE
 LLC                 Enterprises, Inc.                                            note
 Celsius Mining      Sabre56 Corp.                -                   -           Breach of contract
 LLC
 Celsius Network     StakeHound SA        Celsius Network     U.S. Bankruptcy     Violation of the
 Limited                                  Ltd. v.             Court for the       automatic stay,
                                          StakeHound SA,      Southern District   turnover, breach of
                                          Case No. 23-        of New York         contract, gross
                                          01138 (mg)                              negligence
 Celsius Network     Tether                       -                   -           Breach of contract,
 Limited             International Ltd.                                           liquidation of
                                                                                  collateral at an
                                                                                  improper discount
                                                                                  to market
 Celsius Network     Three Arrows         In re Three         U.S. Bankruptcy     Loan default,
 Limited             Capital              Arrows Capital,     Court for the       insolvency
                                          Ltd.,               Southern District   proceeding
                                          Case No. 22-        of New York
                                          10920 (MG)
 Celsius Network     Voyager Digital      In re Voyager       U.S. Bankruptcy     Prepetition
 Limited             Holdings, Inc.       Digital Holdings,   Court for the       preferential
 Celsius Network                          Inc.,               Southern District   transfers and related
 LLC                                      Case No. 22-        of New York         claims
                                          10943 (MEW)
 Celsius Network     Wintermute                   -                   -           Breach of contract,
 Limited             Trading Ltd.                                                 commercial loan
                                                                                  default action
 Celsius Network     Bradley Condit       Bradley Condit v.   U.S. District       Wrongful
 LLC                                      Celsius Network     Court for the       termination
                                          LLC & Yaron         Southern District
                                          Shalem,             of New York
                                          Case No. 22-cv-
                                          05452 (CS)
 Celsius Network     Walter Johnson               -                   -           Wrongful
 LLC                                                                              termination


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                                                         Exhibit B
                                   Schedule of Equitably Subordinated Claims
    Pursuant to the Joint Plan of Reorganization of Celsius Network LLC and its Debtor Affiliates [Docket
No. 3222] (as may be amended, modified, revised, or supplemented from time to time, the “Plan”), all
Claims held by the following Persons and any of their Related Parties shall be Equitably Subordinated
Claims and shall receive the treatment provided to such claims under the Plan. 1 This Schedule of
Equitably Subordinated Claims may be amended, modified, or supplemented by the Debtors and the
Committee at any time prior to the deadline to file the Plan Supplement.

    •    Alexander Mashinsky

    •    Shlomi Daniel Leon

    •    Hanoch “Nuke” Goldstein

    •    Bits of Sunshine LLC

    •    Four Thirteen LLC

    •    Alchemy Capital Partners LP

    •    AM Ventures Holding Inc.

    •    Koala 1 LLC

    •    Koala 2 LLC

    •    Koala 3 LLC

    •    Roni Cohen-Pavon

    •    Johannes Treutler

    •    Harumi Urata-Thompson




1   Capitalized terms used herein but not defined shall have the meanings given to such terms in the Plan.
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                                                              Exhibit C
                                                  Schedule of Excluded Parties
     Pursuant to the Joint Chapter 11 Plan of Reorganization of Celsius Network LLC and its Debtor
Affiliates [Docket No. 3222] (as may be amended, modified, revised, or supplemented from time to time,
the “Plan”), in addition to any other Excluded Parties specifically enumerated in the Plan, the following
parties and each of their Affiliates and Related Parties are Excluded Parties as such term is defined therein. 1
    The Excluded Parties shall not receive the protections of the Plan’s release, injunction, or exculpation
provisions. For the avoidance of doubt, no Excluded Party shall constitute a Released Party or
Exculpated Party in any capacity and all claims against the Excluded Parties that are held by the
Debtors or Holders of Claims and Interests are expressly preserved.
   This Schedule of Excluded Parties may be amended, modified, or supplemented by the Debtors
and the Committee at any time prior to the date the Confirmation Order is entered by the Court.

                                           SCHEDULE OF EXCLUDED PARTIES
    1.         Adam Carver
    2.         Akshay Nayak
    3.         Alameda Research Ltd.
    4.         Alchemy Capital Partners LP
    5.         Alexander Christy
    6.         Alexander Mashinsky
    7.         Aliza Landes
    8.         AM Ventures Holding, Inc.
    9.         Amber Technologies Limited
    10.        Amir Ayalon
    11.        Amtrust Underwriters, Inc. on behalf of Associated Industries Insurance Company, Inc.
    12.        Anderson Tax
    13.        ANV Insurance
    14.        Aslihan Denizkurdu
    15.        Atlantic Insurance
    16.        Ayalon Insurance
    17.        BadgerDAO
    18.        Bancor
    19.        Battlestar Capital, LLC
    20.        B-Brick, Inc.
    21.        Benjamin Armstrong

1        Capitalized terms used herein but not defined shall have the meanings given to such terms in the Plan.
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                              SCHEDULE OF EXCLUDED PARTIES
 22.   Beowulf Energy LLC
 23.   Berkley Insurance Company
 24.   Beyond Associates LLC
 25.   BitBoy Crypto
 26.   Bits of Sunshine LLC
 27.   BJ Investment Holdings, LLC
 28.   Blockchain Access UK Ltd.
 29.   Bradley Condit
 30.   Chainanlysis Inc.
 31.   Circle Internet Financial, LLC
 32.   Circle UK Trading Company Limited
 33.   Cloudflare, Inc.
 34.   Coin Bureau
 35.   Core Scientific Inc.
 36.   Cosmos Infrastructure LLC
 37.   Crum and Forster Specialty Insurance Company
 38.   Crypto Lark
 39.   CryptoWendyO
 40.   Darren Yarwood
 41.   DeFiRate
 42.   Deloitte & Touche LLP
 43.   Deloitte Tax LLP
 44.   Dennis Reichelt
 45.   Ditto PR
 46.   Eddie Moon
 47.   Endurance American Insurance Company
 48.   European Media Finance LTD
 49.   Equities First Holdings, LLC
 50.   EZ Blockchain Services, LLC
 51.   Fabric Ventures Group Sarl
 52.   Falvey Insurance Group
 53.   Fireblocks Inc.




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                              SCHEDULE OF EXCLUDED PARTIES
 54.   Four Thirteen LLC
 55.   Frank Van Etten
 56.   FTX Trading Ltd.
 57.   Grant Thornton LLP
 58.   Guy Turner
 59.   Haines Watts London LLP
 60.   Hanoch “Nuke” Goldstein
 61.   Harumi Urata-Thompson
 62.   HDR Global Trading Limited (t/a BitMEX)
 63.   High Throughput Productions, LLC
 64.   Hudson Insurance Group
 65.   Indian Harbor Insurance Company
 66.   Into the Block Corp.
 67.   Invest Answers
 68.   Iterative OTC, LLC
 69.   James Mullarney
 70.   Jason Perman
 71.   Jason Stone
 72.   Jeremie Beaudry
 73.   Johannes Treutler
 74.   Julie La Point
 75.   KeyFi, Inc.
 76.   Koala1 LLC
 77.   Koala 2 LLC
 78.   Koala 3, LLC
 79.   Kost Forer Gabbay & Kasierer
 80.   KPMG Somekh Chaikin
 81.   Kristine Meehan Mashinsky (née Kristine M. Meehan)
 82.   Lark Davis
 83.   Liquidity Technologies Ltd. (t/a CoinFLEX)
 84.   Lloyds of London Republic Vanguard Insurance Company
 85.   Luna Squares LLC




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                               SCHEDULE OF EXCLUDED PARTIES
 86.    Mambu Tech B.V.
 87.    Markel Insurance
 88.    Mawson Infrastructure Group Inc.
 89.    Mazars LLP
 90.    MF Partners, Ltd.
 91.    Michael Alfred
 92.    Migdal Insurance Company
 93.    MVP Workshop d.o.o. Beograd-Zemun and its shareholders
 94.    Nektar ACS Corp.
 95.    Nyman Lipson Paul, LLP
 96.    Patrick Martin
 97.    Peter Graham
 98.    Prime Trust LLC
 99.    Profluent Trading UK Ltd.
 100.   QBE Insurance Company
 101.   Realm Insurance Company
 102.   Reliz Limited
 103.   Rhodium Enterprises, Inc.
 104.   Rod Bolger
 105.   Rodney Sunada-Wong
 106.   Ron Sabo
 107.   Roni Cohen-Pavon
 108.   Sabre56 Corp.
 109.   Shlomi Daniel Leon
 110.   StakeHound SA
 111.   Starstone Insurance
 112.   Subranmaniam Vijay Konduru
 113.   Tether International Ltd.
 114.   Tether Limited
 115.   The Wolf of Bitcoin
 116.   Three Arrows Capital Ltd.
 117.   Timothy Shedd




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                               SCHEDULE OF EXCLUDED PARTIES
 118.   Tom McCarthy
 119.   Tushar Nadkarni
 120.   United States Fire Insurance Company
 121.   USAStrong.io
 122.   Voyager Digital Holdings, Inc.
 123.   Walter Johnson
 124.   Wintermute Trading Ltd.
 125.   XL Specialty Insurance Company
 126.   Yarden Noy
 127.   Yaron Shalem
 128.   Zachary Wildes
 129.   Zen Blockchain Foundation (d/b/a Horizen)
 130.   Zurich Insurance Group
 131.   All auditors of the Debtors
 132.   All third-party public promoters, marketers, and advertisers of the Debtors, including
        parties with agreements with Celsius concerning payments for referrals.
 133.   All Entities identified on the Schedule of Retained Causes of Action or associated with the
        claims and causes of action preserved on the Schedule of Retained Causes of Action.
 134.   Unless otherwise released pursuant to the Plan, all Entities currently party to adversary
        proceedings in the Debtors’ Chapter 11 Cases.
 135.   All mediate and intermediate transferees of such Excluded Parties.
 136.   All parties with outstanding prepetition litigation against any of the Debtors and/or any
        party subject to any actual or potential counterclaim by the Debtors.
 137.   All Professionals of the Debtors not expressly released under the Plan, including all law
        firms retained by the Debtors prior to the Petition Date other than (1) Kirkland & Ellis
        LLP, (2) Akin Gump Strauss Hauer & Feld LLP, (3) White & Case LLP, (4) A.M. Saccullo
        Legal LLC; and (5) any law firm list on the Debtors’ Statement of Amounts Paid by the
        Debtors to Ordinary Course Professionals in these Chapter 11 Cases as of August 13,
        2022 [Docket Nos. 1455; 1954; 2557; 3120]. For the avoidance of doubt any such law
        firms are not “current attorneys” of the Debtors and are not Released Parties under the
        Plan.
 138.   Any current or former director, officer, employee, independent contractor, professional,
        equity holder, contract counterparty, or other Entity associated with the Debtors that is not
        specifically identified as a Released Party, provided that all individuals who are employed
        by the Debtors on the date the Disclosure Statement Order is entered and that are not
        specifically identified as an Excluded Party on this Schedule of Excluded Parties (as such
        schedule may be amended prior to the date the Confirmation Order is entered) shall be
        Released and Exculpated except to the extent such employee is later arrested, indicted, or
        found liable by a court of competent jurisdiction of bad acts and omissions in connection


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                                SCHEDULE OF EXCLUDED PARTIES
        with his or her role with the Debtors, in which case any release provided in the Plan shall
        be null and void and all statutes of limitation shall be tolled during such time; provided,
        further that any current or former director, officer, employee, independent contractor,
        professional, equity holder, contract counterparty, or other Entity associated with the
        Debtors that is not specifically identified as a Released Party who subsequently enters into
        an agreement that includes a provision that they shall be identified as a Released Party
        shall be a Released Party.
 139.   Any Released Party that is later arrested, indicted, or found liable by a court of competent
        jurisdiction for bad acts or omissions in connection with his or her role with the Debtors,
        in which case any release provided by the Plan shall be null and void with respect to such
        employee and all statutes of limitations shall be tolled during such time.
 140.   Account Holder Avoidance Actions against Released Parties shall not be released unless
        released pursuant to the Account Holder Avoidance Action Settlement.
 141.   All Avoidance Actions against Entities that are not Account Holders.
 142.   All Affiliates and Related Parties of Excluded Parties




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